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    1   Stephen L. Raucher [SBN 162795]
        sraucher@rrbattorneys.com
    2   REUBEN RAUCHER & BLUM
        12400 Wilshire Boulevard, Suite 800
    3   Los Angeles, California 90025
        Telephone: (310) 777-1990
    4   Facsimile: (310) 777-1989
    5
        Attorneys for Plaintiff,
    6   Swift Harvest USA, LLC
    7
    8                        UNITED STATES DISTRICT COURT
    9                      CENTRAL DISTRICT OF CALIFORNIA
   10
   11   SWIFT HARVEST USA, LLC, a                      CASE NO. 5:19-CV-01700-DMG-GJS
        California Limited Liability Company,
   12
                            Plaintiff,                 PLAINTIFF SWIFT HARVEST
   13                                                  USA, LLC’S EX PARTE
        vs.                                            APPLICATION FOR LEAVE TO
   14                                                  CONDUCT JURISDICTIONAL
        BOLEY INTERNATIONAL (HK)                       DISCOVERY AND CONTINUE
   15   LTD., a Hong Kong Company;                     THE HEARING ON THE MOTION
        BOLEY CORPORATION, a California                TO DISMISS
   16   Corporation; and DOES 1-10,
                                                       [Concurrently filed with the
   17                       Defendants.                Declaration of Stephen L. Raucher
                                                       and Proposed Order]
   18
   19                                                  Complaint Filed: September 5, 2019
   20
   21   TO ALL PARTIES AND THEIR ATTORNEY OF RECORD:
   22         PLEASE TAKE NOTICE that Plaintiff Swift Harvest USA, LLC will and
   23   hereby does move this Court ex parte, in accordance with Rules 26, 34, and 45 of
   24   the Federal Rules of Civil Procedure and Local Rule 7-19, for an order permitting
   25   Plaintiff to take limited jurisdictional discovery in this matter and to continue the
   26   hearing on Defendants’ pending Motion to Dismiss to allow such discovery to be
   27   conducted prior to the time Plaintiff must file its opposition.
   28         As detailed in the accompanying Memorandum of Points and Authorities,
                                                   1
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    1   the law of this Circuit authorizes jurisdictional discovery where there is doubt
    2   about the underlying facts regarding personal jurisdiction. While such evidence is
    3   uniquely within Boley’s knowledge and control, even the limited amount of
    4   information available to Plaintiff demonstrates good cause for jurisdictional
    5   discovery.
    6         The following is Defendants’ counsel’s contact information:
    7                      Tamany Vinson Bentz
    8                      tamany.bentz@dlapiper.com
                           Tyler Anthony
    9                      tyler.anthony@dlapiper.com
   10                      DLA PIPER LLP (US)
                           2000 Avenue of the Stars
   11                      Suite 400 North Tower
   12                      Los Angeles, California 90067-4704
                           Tel: 310.595.3000
   13                      Fax: 310.595.3300
   14         On December 19, 2019, in accordance with Local Rule 7-19, Plaintiff gave
   15   notice to Defendants’ counsel by email of Plaintiff’s intention to file this
   16   Application, at approximately 9:30 a.m., including that any opposition must be
   17   served and filed within 24 hours of service of the papers. (Ex. 12 to Raucher
   18   Decl.). Defendants have indicated that they will oppose this Application.
   19         This ex parte application is based upon this Notice, the Memorandum of
   20   Points and Authorities, the Declaration of Stephen L. Raucher, and upon such other
   21   evidence as may be presented to the Court at the time of any hearing on this
   22   application.
   23   DATED: December 19, 2019                     REUBEN RAUCHER & BLUM
   24
   25                                                By:________________________
                                                           Stephen L. Raucher
   26                                                Attorneys for Plaintiff
   27
   28

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    1                MEMORANDUM OF POINTS AND AUTHORITIES
    2                                             I.
    3                                   INTRODUCTION
    4         Plaintiff Swift Harvest USA, LLC (“Swift Harvest”) hereby submits its ex
    5   parte request for Court approval to conduct discovery limited to the issue of
    6   personal jurisdiction. On December 16, 2019, Defendant Boley International (HK)
    7   Ltd. (“Boley HK”) filed a Motion to Dismiss based on lack of personal
    8   jurisdiction, among other things, set for hearing on January 31, 2020. Based on the
    9   limited evidence presented with this Application, Swift Harvest has proffered facts
   10   to show that Boley HK is potentially subject to the personal jurisdiction of this
   11   Court. Accordingly, Swift Harvest requests that, consistent with the law in this
   12   Circuit, it be allowed to conduct jurisdictional discovery to allow for the
   13   submission of additional evidence with its opposition. In particular, Swift Harvest
   14   requests leave to conduct three depositions (including document demands). (See
   15   Exs. 2-4 to Raucher Decl.). Since such discovery will take at least 30 days to
   16   conduct, Swift Harvest further requests that the hearing on Defendants’ Motion to
   17   Dismiss be continued at least 30 days.1
   18                                             II.
   19                                    BACKGROUND
   20         On September 5, 2019, Swift Harvest filed a complaint for copyright
   21   infringement and infringement of an unregistered trademark, among other things,
   22   against Boley HK and Boley Corporation, a California corporation (“Boley CA”).
   23   Swift Harvest alleges that Boley HK and Boley CA have infringed its intellectual
   24   property rights in the Banzai Cyclone Spin Sprinkler water toy, Banzai Wigglin’
   25   Water Sprinkler Toy, a photograph of children playing with a toy sprinkler, and the
   26
              1
                 Because there is insufficient time for a regularly noticed motion to be heard
   27   prior to Swift Harvest’s current opposition due date (January 10, 2020), Plaintiff is
        proceeding via this ex parte application.
   28
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    1   unregistered Cyclone Sprinkler trademark. Swift Harvest became the owner of
    2   these intellectual property rights through a series of assignment agreements. A
    3   firm called Aquawood, LLC (“Aquawood”) initially assigned the rights to the
    4   asserted intellectual property to Focus Brand Limited (“Focus”). Focus thereafter
    5   assigned the intellectual property to Banzai International Limited (“Banzai”) who
    6   then transferred the intellectual property to Swift Harvest. (Complaint, ¶¶17-22).
    7         Boley is, among other things, a supplier of children’s water sprinkler toys to
    8   United States companies, under the trade names “Water Sprinkler,” “Twisty Water
    9   Sprinkler,” “Hurricane Sprinkler,” and “Cyclone Spin Sprinkler” (collectively
   10   referred to hereinafter as the “Infringing Sprinkler Products”). (Complaint, ¶23).
   11         Swift Harvest had a previous case against Dollar General Corporation
   12   (“Dollar General”), a Tennessee corporation, for copyright infringement of the
   13   Infringing Sprinkler Products, U.S.D.C. Case No. 2:17-cv-08644-DMG-GJS.
   14   Dollar General was the retailer of the Infringing Sprinkler Products supplied by
   15   Boley CA and Boley HK. On December 28, 2018, the court granted summary
   16   judgment to Dollar General because of perceived defects in the assignment of
   17   intellectual property rights, but since then, Swift Harvest and the various
   18   predecessors in interest to the asserted intellectual property have entered into
   19   Amended and Restated Assignment Agreements which cured the problem
   20   identified in the prior case. (Exs. F-H to Complaint).
   21         On October 2, 2019, counsel for Boley HK asserted that Boley HK is not
   22   subject to personal jurisdiction in the United States. (Raucher Decl., ¶2). On
   23   November 15, 2019, Swift Harvest sent a draft of a deposition notice for Boley CA
   24   and a subpoena for Dollar General to opposing counsel. Swift Harvest further
   25   inquired as to whether Boley would stipulate to early discovery regarding its
   26   contemplated personal jurisdiction motion. (Exs. 1-4 to Raucher Decl.).
   27         On November 19, 2019, opposing counsel stated that they would not
   28   stipulate to Swift Harvest’s proposed jurisdictional discovery. (Ex. 5 to Raucher
                                                 2
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    1   Decl.). On November 20, 2019, Plaintiff’s counsel offered to meet and confer with
    2   Defendants’ counsel regarding the scope of the proposed discovery. However, on
    3   November 22, 2019, Defendants’ counsel rejected any jurisdictional discovery
    4   whatsoever. (Ex. 6 to Raucher Decl.). On December 16, 2019 Defendants filed
    5   their Motion to Dismiss, which included an allegation by Boley HK of a lack of
    6   personal jurisdiction. The motion is set for hearing on January 31, 2020.
    7                                            III.
    8                                      ARGUMENT
    9   A.    The Law Is Well-Settled That Plaintiff Is Entitled To Jurisdictional
   10         Discovery To Oppose Defendants’ Motion to Dismiss
   11         Whenever a defendant raises lack of personal jurisdiction as an affirmative
   12   defense and the plaintiff demonstrates that its jurisdictional allegations can be
   13   supplemented through discovery, the law in this Circuit is well-settled that Plaintiff
   14   has the right to conduct jurisdictional discovery. Such preliminary discovery is to
   15   be permitted where “pertinent facts bearing on the question of jurisdiction are
   16   controverted or where a more satisfactory showing of the facts is necessary.”
   17   Boschetto v. Hansing, 593 F.3d 1011, 1020 (9th Cir. 2008).
   18         District courts have broad discretion in scheduling discovery, including
   19   broad discretion to order expedited discovery prior to a Rule 26 conference. Hallet
   20   v. Morgan, 296 F.3d 732, 751 (9th Cir. 2002). The court may authorize expedited
   21   discovery for “good cause.” Semitool, Inc. v. Tokyo Electron Am., Inc., 208 F.R.D.
   22   273, 276 (N.D. Cal. 2002); accord American LegalNet, Inc. v. Davis, 673
   23   F.Supp.2d 1063, 1066 (C.D. Cal. 2009). Good cause generally exists “where the
   24   need for expedited discovery, in consideration of the administration of justice,
   25   outweighs the prejudice to the responding party.” Semitool, 208 F.R.D. at 276.
   26         Here, good cause is present because complete jurisdictional information is
   27   only within the knowledge of defendants Boley HK and Boley CA, and Swift
   28   Harvest requires this information to properly oppose the Motion to Dismiss for
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    1   lack of personal jurisdiction.
    2         In order to obtain leave to conduct discovery on jurisdictional facts, a
    3   plaintiff must make a “colorable” showing that the court can exercise personal
    4   jurisdiction over the defendant. Mitan v. Feeney, 497 F. Supp. 2d 1113, 1119
    5   (C.D. Cal. 2007). The “colorable” standard is “something less than a prima facie
    6   showing, and “could be equated as requiring the plaintiff to come forward with
    7   ‘some evidence’ tending to establish personal jurisdiction over the defendant.” Id.
    8   Jurisdictional discovery is inappropriate, however, when plaintiff’s moving papers
    9   contain “little more than a hunch that jurisdictional discovery might yield
   10   jurisdictionally relevant facts.” Boschetto, 539 F.3d at 1020.
   11         Here, Plaintiff’s request for jurisdictional discovery is narrowly tailored and
   12   limited in nature. Plaintiff moves the Court to permit Plaintiff to conduct three
   13   depositions, with accompanying document demands. (Ex. 2-4 to Raucher Decl.).
   14   Documents and information to be discovered through limited jurisdictional
   15   discovery possess the potential to clarify controverted factual issues.         These
   16   contested facts are necessarily relevant to the jurisdictional analysis. Furthermore,
   17   there will be no prejudice to Defendants or any third party if this Application is
   18   granted. Jurisdictional discovery will not prejudice any party from taking full
   19   factual depositions and full factual discovery after jurisdiction has been resolved.
   20   B.    Through Jurisdictional Discovery, Plaintiff Can Supplement The
   21         Factual Basis Supporting The Court’s Personal Jurisdiction Over the
   22         Defendant
   23         There are two paths to establish personal jurisdiction: general personal
   24   jurisdiction or specific personal jurisdiction. In Glencore Grain Rotterdam B.V. v.
   25   Shivnath Rai Harnarain Co., 284 F.3d 1114, 1123 (9th Cir. 2002), the court stated:
   26   “When, as here, subject matter jurisdiction is premised on a federal question, the
   27   exercise of personal jurisdiction over a non-resident defendant must be authorized
   28   by a rule or statute and consonant with the constitutional principles of due
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    1   process.” The court also noted that when there is no applicable federal statute
    2   governing personal jurisdiction, the starting point of analysis is California’s long
    3   arm statute. Id. California’s long-arm statute permits the exercise of jurisdiction
    4   to the limits of due process. Id. Thus, in this case, the analysis of personal
    5   jurisdiction under California’s long-arm and the Constitution will collapse into
    6   one.
    7          Constitutional due process is satisfied when a nonresident defendant has
    8   certain minimum contacts with the forum such that that the maintenance of the suit
    9   does not offend traditional notions of fair play and substantial justice. Int’l Shoe
   10   Co. v. Wash., 326 U.S. 310, 316 (1945). Depending on the nature of the foreign
   11   defendant’s contacts, a federal court may obtain either specific or general
   12   jurisdiction over it. Specific jurisdiction can be exercised when the cause of action
   13   arises out of or has a substantial connection to the defendant’s contacts with the
   14   forum. Hanson v. Denckla, 357 U.S. 235, 251 (1958). Alternatively, a defendant
   15   whose contacts are substantial, continuous, and systematic is subject to a court’s
   16   general jurisdiction even if the suit concerns matters not arising out of his contacts
   17   with the forum. Helicopteros Nacionales de Colombia, S.A. v. Hall, 466 U.S. 408,
   18   415 n. 9 (1984). Whether a court is dealing with specific or general jurisdiction,
   19   the touchstone remains “purposeful availment.” The evidence will show that this
   20   Court has both general and specific personal jurisdiction over Boley HK.
   21          The Ninth Circuit has established a three-part test to determine whether a
   22   defendant’s contacts are sufficient for the exercise of specific personal jurisdiction.
   23   In order for a defendant to have sufficient contacts with the forum state to be
   24   subject to specific personal jurisdiction:
   25                 The non-resident defendant must purposefully direct his
               activities or consummate some transaction with the forum or resident
   26          thereof; or perform some act by which he purposefully avails himself
               of the privilege of conducting activities in the forum, thereby invoking
   27          the benefits and protections of its laws.
   28   Picot v. Weston, 780 F.3d 1206, 1211 (9th Cir. 2015).

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    1          Here, Boley HK has purposefully availed itself of the privileges of
    2   conducting activities in California. The evidence will show that Boley HK’s
    3   activities in connection with the copyright infringement, trademark infringement,
    4   unfair competition, and related causes of action took place in California.
    5          Preliminarily, Boley HK and Boley CA are alter egos. Alter ego jurisdiction
    6   imputes the activities of a subsidiary corporation in the forum state to the out-of-
    7   state parent, thereby providing a basis for jurisdiction over the parent corporation.
    8   Wells Fargo & Co. v. Wells Fargo Express Co., 556 F.2d 406, 425 (9th Cir. 1977).
    9   To be subject to jurisdiction pursuant to an alter ego theory, the parent “must
   10   exercise a control relationship over its subsidiary.” Chrysler Corp. v. Gen. Motors
   11   Corp., 589 F. Supp. 1182, 1200 (D.D.C. 1984).
   12          The record shows that Boley HK and Boley CA are interchangeable. For
   13   example, a Certification and Notice of Interested Parties in the Dollar General case
   14   listed Boley Corporation as an interested party because it is the “Manufacturer of
   15   Water Sprinkler and Hurricane Sprinkler.” (Ex. 8 to Raucher Decl.). Meanwhile,
   16   Dollar General produced purchase orders for the infringing Cyclone Sprinkler and
   17   Water Sprinkler listing “Boley International HK” as the vendor.2 (Raucher Decl.,
   18   ¶9).   Additionally, in a May 24, 2017 letter from Reueben Wong written on
   19   “Boley” letterhead to Denny Cheng at Banzai International Ltd in response to a
   20   cease and desist letter, Mr. Wong stated that Banzai’s letter to Dollar General has
   21   been referred to “Boley” for response. Both the letterhead and the letter conflate
   22   Boley CA and Boley HK. (Ex. 9 to Raucher Decl.).
   23          Moreover, the limited public information available to Plaintiff, including
   24   Boley HK’s corporate documents, supports that the allegation that California has
   25   both specific and general jurisdiction over Boley HK. In his declaration in support
   26   of Defendants’ Motion to Dismiss, Reuben Wong, Director of Boley HK, states
   27   that Boley HK “does not maintain any operations or offices in California or the
   28          2
                   The purchase orders are not attached as they were designated confidential.
                                                    6
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    1   United States.” (Wong Decl., ¶4). However, Boley HK’s own website contradicts
    2   that statement. For example, according to www.boleycorp.com, Boley has both
    3   Hong Kong and California offices.
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   23   (Ex. 7 to Raucher Decl.)
   24         Furthermore, Boley HK’s owners themselves have a physical presence in
   25   California. An “Annual Return” filed in Hong Kong shows that the officers of
   26   Boley HK are Ronald Wong and Stella Choi.           (Ex. 10 to Raucher Decl.).
   27   Meanwhile, the California Secretary of State filing for the Boley CA entity shows
   28   that Ronald Wong and Stella Wong (who is presumed to be the same person as
                                                7
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    1   Stella Choi) are the sole officers. Addresses in Chino, California are listed for both
    2   Ronald and Stella, and Ronald is also listed as the designated agent for service of
    3   process for the US Boley entity. (Ex. 11 to Raucher Decl.). This presence in the
    4   forum by Boley HK members on behalf of Boley CA certainly bolsters the
    5   argument for both general and specific personal jurisdiction.
    6         Furthermore, Boley HK created an essentially identical toy to Swift
    7   Harvest’s with essentially identical packaging, and it ended up in direct
    8   competition with Swift Harvest in the California market. Boley HK targeted Swift
    9   Harvest and the original rights holder, Aquawood, LLC, both of which are
   10   California LLCs, by copying their protected work. Therefore, Boley HK
   11   purposefully availed and purposefully directed itself of the privileges of
   12   conducting activities in the forum.
   13         Through jurisdictional discovery, Swift Harvest can supplement the existing
   14   factual basis supporting the Court’s exercise of personal jurisdiction over Boley
   15   HK. Swift Harvest seeks to supplement this evidence by conducting depositions
   16   (including document demands) of Boley HK, Boley CA, and Dollar General; this
   17   discovery should elicit more detailed information about Boley HK’s pervasive
   18   connection to California in general and in regards to the Infringing Sprinkler
   19   Products, and show that Boley HK’s activities in connection with the action took
   20   place in California.
   21         Through jurisdictional discovery, Swift Harvest would examine any business
   22   relationship between Boley HK and Boley CA, as well as other California entities.
   23   Further, discovery would permit Swift Harvest to explore all communications
   24   between Boley HK and Boley CA regarding the Infringing Sprinkler Products.
   25   Swift Harvest would also examine the sale of any Boley HK products in California
   26   for the last five years, as well as the connections between Boley HK, Boley CA,
   27   and Dollar General.     This jurisdictional discovery would produce information
   28   aiding a determination of factual issues pertinent to the three-part Picot test.
                                                   8
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    1                                           IV.
    2                                    CONCLUSION
    3         For the foregoing reasons, Swift Harvest respectfully requests that this Court
    4   grant this Ex Parte motion to allow jurisdictional discovery and continue the
    5   hearing on Defendants’ Motion to Dismiss.
    6
    7
    8   DATED: December 19, 2019                      REUBEN RAUCHER & BLUM
    9
   10                                                 By:________________________
                                                            Stephen L. Raucher
   11                                                 Attorneys for Plaintiff
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    1                   DECLARATION OF STEPHEN L. RAUCHER
    2         I, STEPHEN L. RAUCHER, declare as follows:
    3         1.     I am an attorney at law licensed to practice law in the State of
    4   California and before this Court. I am an officer of Reuben Raucher & Blum,
    5   attorneys of record for Plaintiff Swift Harvest USA, LLC (“Swift Harvest”). I
    6   have direct personal knowledge of the facts set forth herein, and if called as a
    7   witness, I could and would competently testify to those facts under oath.
    8         2.     In an October 2, 2019 email, Tamany Bentz, counsel for Defendant,
    9   Boley International (HK) Ltd. (“Boley HK”), asserted that Boley HK is not subject
   10   to personal jurisdiction in the United States.
   11         3.     On November 15, 2019, I sent a draft of a deposition notice for Boley
   12   Corporation and a subpoena for Dollar General Corporation to opposing counsel
   13   Tamany Bentz and Tyler Anthony. I further inquired as to whether Boley would
   14   stipulate to early discovery regarding its contemplated personal jurisdiction
   15   motion. Attached hereto as Exhibit 1 is a true and correct copy of the email from
   16   me dated November 15, 2019. Attached hereto as Exhibits 2 and 3 are true and
   17   correct copies of the draft deposition notice and subpoena. Additionally, attached
   18   hereto as Exhibit 4 is a true and correct copy of a proposed telephonic notice of
   19   deposition of Boley HK.
   20         4.     In a November 19, 2019 email, opposing counsel, Tyler Anthony,
   21   stated that they would not stipulate to Swift Harvest’s proposed jurisdictional
   22   discovery. Attached hereto as Exhibit 5 is a true and correct copy of the email
   23   from Mr. Anthony dated November 19, 2019.
   24         5.     On November 20, 2019, I offered to meet and confer regarding the
   25   scope of the proposed discovery. However, on November 22, 2019, Mr. Anthony
   26   rejected any jurisdictional discovery whatsoever. Attached hereto as Exhibit 6 is a
   27   true and correct copy of this email chain.
   28         6.     On December 16, 2019 Defendants filed a Motion to Dismiss, which
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    1   included an assertion by Boley HK of a lack of personal jurisdiction. In support of
    2   its motion, Boley HK submitted the declaration of Reuben Wong, in which he
    3   asserted that Boley “does not maintain any operations or offices in California or
    4   the United States.”
    5         7.     However, Boley HK’s website lists a California location, in addition
    6   to a Hong Kong location. Attached hereto as Exhibit 7 is a true and correct copy
    7   of a screenshot of Boley HK’s webpage.
    8         8.     Furthermore, a Certification and Notice of Interested Parties in the
    9   Dollar General case listed Boley Corporation as an interested party because it is the
   10   “Manufacturer of Water Sprinkler and Hurricane Sprinkler.” Attached hereto as
   11   Exhibit 8 is a true and correct copy of the Certification and Notice of Interested
   12   Parties from the prior related case, U.S.D.C. Case No. 17-cv-08644-DMG-GJS.
   13         9.     Meanwhile, Dollar General produced purchase orders in the prior case
   14   for the infringing Cyclone Sprinkler and Water Sprinkler listing “Boley
   15   International HK” as the vendor. The purchase orders are not attached as they
   16   were designated confidential.
   17         10.    Additionally, in a May 24, 2017 letter from Reueben Wong written on
   18   “Boley” letterhead to Denny Cheng at Banzai International Ltd in response to a
   19   cease and desist letter, Mr. Wong stated that Banzai’s letter to Dollar General had
   20   been referred to Boley for response. The letter conflates Boley CA and Boley HK.
   21   Attached hereto as Exhibit 9 is a true and correct copy of the May 24, 2017 letter
   22   from Mr. Wong, as produced in discovery in the prior related case.
   23         11.    Furthermore, corporate filings support the contention that California
   24   has jurisdiction over Boley HK. For example, an “Annual Return” filed in Hong
   25   Kong shows that the members (owners) of Boley HK are Ronald Wong and Stella
   26   Choi. Attached hereto as Exhibit 10 is a true and correct copy of the Boley HK
   27   “Annual Return” document.       Meanwhile, a Statement of Information filed by
   28   Boley Corporation with the California Secretary of State shows that Ronald Wong
                                                  2
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    1   and Stella Wong (who is presumed to be the same person as Stella Choi) are the
    2   sole officers of the California corporation. Addresses in Chino, California are
    3   listed for both Ronald and Stella, and Ronald is also listed as the designated agent
    4   for service of process for the California Boley entity. Attached hereto as Exhibit
    5   11 is a true and correct copy of the California Secretary of State filing for Boley
    6   Corporation.
    7         12.      On December 19, 2019, we gave notice to Defendants’ counsel by
    8   email of Plaintiff’s intention to file an Ex Parte application at approximately 9:30
    9   a.m., including that any opposition must be served and filed within 24 hours of the
   10   notice. Attached hereto as Exhibit 12 is a true and correct copy of my office’s
   11   email. Defendants have indicated that they will oppose the application.
   12         I declare under penalty of perjury under the laws of the United States that
   13   the foregoing is true and correct.
   14         Executed this 19th day of December, 2019 at Los Angeles, California.
   15
   16
                                              ____________________________________
   17                                                 Stephen L. Raucher
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Nathalie Quach
From:                         Stephen Raucher
Sent:                         Friday, November 15, 2019 9:05 AM
To:                           'Bentz, Tamany'; Anthony, Tyler (tyler.anthony@dlapiper.com)
Cc:                           Nicholas Alexakis
Subject:                      Swift Harvest v. Boley/Dollar General
Attachments:                  Notice of Depo of Boley Corporation (00390490xC20DB).pdf; Subpoena to Dollar General
                              and Attachment (00390508xC20DB).pdf


Hi Tamany and Tyler –

I am working on a new settlement offer, but in the meantime, please advise as to whether Boley will stipulate to early
discovery regarding its contemplated personal jurisdiction motion.

A draft 30(b)(6) deposition notice to Boley California and a draft subpoena to Dollar General on jurisdictional issues are
attached. Since the 30(b)(6) notice will need to be served with at least 30 days’ notice given the document demands,
please advise as soon as possible whether you will agree to early jurisdictional discovery. Please also provide potential
dates for these depositions.

We are also contemplating a 30(b)(6) deposition notice with document demands to Boley HK.

Thank you in advance for your anticipated cooperation.




Stephen L. Raucher
12400 Wilshire Boulevard, Suite 800 | Los Angeles, California 90025
Telephone: (310) 777-1990 | Facsimile: (310) 777-1989
www.rrbattorneys.com | sraucher@rrbattorneys.com

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    1   Stephen L. Raucher [State Bar #162795]
        sraucher@rrbattorneys.com
    2   REUBEN RAUCHER & BLUM
        12400 Wilshire Boulevard, Suite 800
    3   Los Angeles, California 90025
        Telephone: (310) 777-1990
    4   Facsimile: (310) 777-1989
    5   Attorneys for Plaintiff
        Swift Harvest USA, LLC
    6
    7
                           UNITED STATES DISTRICT COURT
    8
                         CENTRAL DISTRICT OF CALIFORNIA
    9
   10
        SWIFT HARVEST USA, LLC, a                Case No.: 5:19-CV-01700
   11   California Limited Liability Company,
                                                 PLAINTIFF SWIFT HARVEST
   12                     Plaintiff,             USA, LLC’S NOTICE OF RULE
                                                 30(b)(6) DEPOSITION TO
   13   vs.                                      DEFENDANT BOLEY
                                                 CORPORATION
   14   BOLEY INTERNATIONAL (HK)
        Ltd., a Hong Kong Company; BOLEY         Date:
   15   CORPORATION, a California                Time: 9:30 a.m.
        Corporation; and DOES 1-10,              Location: Reuben Raucher & Blum
   16
                          Defendants.            Complaint filed:   September 5, 2019
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    1         TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
    2         PLEASE TAKE NOTICE that, pursuant to Rule 30(b)(6) of the Federal
    3   Rules of Civil Procedure (“FRCP”), Plaintiff, SWIFT HARVEST USA, LLC
    4   (“SWIFT HARVEST”), through its attorneys, will take the deposition of the
    5   person most knowledgeable from             Defendant BOLEY CORPORATION.
    6   (“Defendant”), on the categories of information listed below, on [DATE], 2019 at
    7   the offices of Reuben Raucher & Blum, 12400 Wilshire Blvd., Suite 800, Los
    8   Angeles, CA 90025, or at such other time and place as may be agreed by the
    9   parties. The deposition will commence at 9:30 a.m. PST, and shall continue for
   10   seven (7) complete hours of transcript time per designee, continuing as late as
   11   necessary, or concluding on the following day, if necessary. The deposition will
   12   be taken upon oral examination before a court reporter or other person lawfully
   13   authorized to administer oaths and take deposition testimony for the purposes of
   14   discovery and may be videotaped or audiotaped for use as evidence in this action,
   15   including trial, or for such other purposes as are permitted.
   16         Pursuant to FRCP 30(b)(6), Defendant is required to produce at the
   17   deposition those of its officers, directors, managing agents, employees, or agents
   18   who are most qualified to testify on its behalf on each of the categories listed
   19   below. Within five (5) business days of the date of the deposition, Defendant is
   20   requested to identify, in writing, the name(s) and position(s) of the person(s) who
   21   will testify on its behalf concerning the below categories.
   22         PLEASE TAKE FURTHER NOTICE that pursuant to FRCP 30(b)(2) and
   23   34, the deponent must produce the documents, records, or other materials specified
   24   below at such deposition.
   25         The categories and relevant definitions are as follows:
   26                                     DEFINITIONS
   27         1.     “BOLEY” means Defendant BOLEY CORPORATION, a California
   28   Corporation; any current or former directors, officers, agents or employees; and
                                                  1
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    1 any other person acting on behalf of BOLEY or at their direction or under their
    2 control.
    3         2.     “BOLEY HK” means Defendant BOLEY INTERNATIONAL (HK)
    4 Ltd., a Hong Kong Company; any current or former directors, officers, agents or
    5 employees; and any other person acting on behalf of BOLEY HK or at their
    6 direction or under their control.
    7         3.     “DOLLAR         GENERAL”          means      DOLLAR         GENERAL
    8 CORPORATION, a Tennessee corporation any current or former directors,
    9 officers, agents or employees; and any other person acting on behalf of DOLLAR
   10 GENERAL or at their direction or under their control.
   11         4.     “INFRINGING SPRINKLER PRODUCTS” means and refers to the
   12 children’s water sprinkler toys that are distributed, marketed, sold, and offered for
   13 sale under the trade names “Water Sprinkler,” “Twisty Water Sprinkler,”
   14 “Hurricane Sprinkler,” and “Cyclone Spin Sprinkler” referenced in the operative
   15 complaint in this matter.
   16         5.     “COMMUNICATION” in the singular and plural means and refers to
   17 any oral, telephonic, written, electronic, or other transmittal of information or other
   18 content, including via e-mail, text message, and social media.
   19                                     CATEGORIES
   20         1.     Any communications between BOLEY HK and BOLEY for the last
   21 five years;
   22         2.     Any contracts between BOLEY HK and BOLEY;
   23         3.     BOLEY’s business relationship with BOLEY HK;
   24         4.     Any and all contacts of any kind between BOLEY, BOLEY HK, and
   25 the State of California;
   26         5.     Ronald Wong’s relationship with BOLEY;
   27         6.     Ronald Wong’s relationship with BOLEY HK;
   28         7.     Stella Wong’s relationship with BOLEY;
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    1          8.    Stella Wong’s relationship with BOLEY HK;
    2          9.    Any business relationship between BOLEY HK and any California
    3 entities, or entities with their principal place of business in California, for the last
    4 five years;
    5          10.   The sale of any BOLEY HK products in California for the last five
    6 years;
    7          11.   All communications with BOLEY HK regarding the INFRINGING
    8 SPRINKLER PRODUCTS; and
    9          12.   All communications with DOLLAR GENERAL regarding the
   10 INFRINGING SPRINKLER PRODUCTS.
   11                           REQUEST FOR PRODUCTION
   12          Deponent is requested to produce at the deposition all documents supporting,
   13 referring to, relating to, or concerning:
   14          1.    Invoices, receipts, travel expenses, calendars, diaries, and any other
   15 documents reflecting or referring to travel to the State of California by BOLEY
   16 HK;
   17          2.    The negotiation of any contracts between BOLEY and BOLEY HK;
   18          3.    Any contracts between BOLEY and BOLEY HK;
   19          4.    The performance of any contracts between BOLEY and BOLEY HK;
   20          5.    All communications between BOLEY and BOLEY HK for the last
   21 five years;
   22          6.    Any lawsuits filed against BOLEY and/or BOLEY HK in the State of
   23 California;
   24          7.    Ronald Wong’s relationship with BOLEY;
   25          8.    Ronald Wong’s relationship with BOLEY HK;
   26          9.    Stella Wong’s relationship with BOLEY;
   27          10.   Stella Wong’s relationship with BOLEY HK;
   28          11.   Any business relationship between BOLEY HK and any California
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    1 entities for the last five years;
    2          12.   The sale of any BOLEY HK products in California for the last five
    3 years;
    4          13.   All communications with BOLEY HK regarding the INFRINGING
    5 SPRINKLER PRODUCTS; and
    6          14.   All communications with DOLLAR GENERAL regarding the
    7 INFRINGING SPRINKLER PRODUCTS.
    8
    9 DATED: November 14, 2019              REUBEN RAUCHER & BLUM
   10
                                            By:______________________________
   11                                             Stephen L. Raucher
                                            Attorneys for Plaintiff Swift Harvest USA,
   12                                       LLC
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     Case 5:19-cv-01700-DMG-GJS Document 17 Filed 12/19/19 Page 24 of 63 Page ID #:216
 AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                             for the
                                                           Central District
                                                        __________  Districtofof
                                                                               California
                                                                                 __________

  Swift Harvest USA, a California Limited Liability Company                     )
                                Plaintiff                                       )
                                   v.                                           )      Civil Action No.      5:19-CV-01700
    Boley International (HK) Ltd., a Hong Kong Company;                         )
      Boley Corporation, a California Corporation; et al.                       )
                               Defendant                                        )

                              SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

 To:                                                              Dollar General Corporation

                                                        (Name of person to whom this subpoena is directed)

       ✔
       u Testimony:    YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
 deposition to be taken in this civil action. If you are an organization, you must designate one or more officers, directors,
 or managing agents, or designate other persons who consent to testify on your behalf about the following matters, or
 those set forth in an attachment:
See Attachment


  Place: Bradley Arant Boult Cummings, LLP                                              Date and Time:
            1600 Division Street, Suite 700
            Nashville, Tennessee 37203

           The deposition will be recorded by this method:                     stenographic; audio; video

       ✔
       u Production:     You, or your representatives, must also bring with you to the deposition the following documents,
           electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
           material: See Attachment




        The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
 Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
 respond to this subpoena and the potential consequences of not doing so.

 Date:        11/14/2019
                                    CLERK OF COURT
                                                                                          OR
                                                                                                             /s/ Stephen L. Raucher
                                            Signature of Clerk or Deputy Clerk                                  Attorney’s signature

 The name, address, e-mail address, and telephone number of the attorney representing (name of party)
 Swift Harvest USA, LLC                                                  , who issues or requests this subpoena, are:
Stephen L. Raucher; 12400 Wilshire Boulevard, Suite 800, Los Angeles, CA 90025; sraucher@rrbattorneys.com;
(310) 777-1990
                                 Notice to the person who issues or requests this subpoena
 If this subpoena commands the production of documents, electronically stored information, or tangible things before
 trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
 whom it is directed. Fed. R. Civ. P. 45(a)(4).
    Case 5:19-cv-01700-DMG-GJS Document 17 Filed 12/19/19 Page 25 of 63 Page ID #:217
AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

Civil Action No. 5:19-CV-01700

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          I received this subpoena for (name of individual and title, if any) Dollar General Corporation
on (date)                       .

          u I served the subpoena by delivering a copy to the named individual as follows:


                                                                                     on (date)                     ; or

          u I returned the subpoena unexecuted because:
                                                                                                                                 .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                      for services, for a total of $   0.00   .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server’s signature



                                                                                          Printed name and title




                                                                                             Server’s address

Additional information regarding attempted service, etc.:
    Case 5:19-cv-01700-DMG-GJS Document 17 Filed 12/19/19 Page 26 of 63 Page ID #:218

AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                 (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or               study that was not requested by a party.
regularly transacts business in person; or                                            (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
      (i) is a party or a party’s officer; or                                      conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                           otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                             (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include             which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who               (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                   information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                               (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.        (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for            (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                         material must:
     (i) At any time, on notice to the commanded person, the serving party              (i) expressly make the claim; and
may move the court for the district where compliance is required for an                 (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the        privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from        (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                   information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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    1                                        ATTACHMENT
    2         Pursuant to FRCP 30(b)(6), DOLLAR GENERAL is required to produce at
    3   the deposition those of its officers, directors, managing agents, employees, or
    4   agents who are most qualified to testify on its behalf on each of the categories
    5   listed below. Within five (5) business days of the date of the deposition, DOLLAR
    6   GENERAL is requested to identify, in writing, the name(s) and position(s) of the
    7   person(s) who will testify on its behalf concerning the below categories.
    8         Pursuant to FRCP 30(b)(2) and 34, the deponent must produce the
    9   documents, records, or other materials specified below at such deposition.
   10         The categories and relevant definitions are as follows:
   11                                       DEFINITIONS
   12         1.     “DOLLAR          GENERAL”        means       DOLLAR         GENERAL
   13   CORPORATION, a Tennessee corporation any current or former directors,
   14   officers, agents or employees; and any other person acting on behalf of DOLLAR
   15   GENERAL or at their direction or under their control.
   16         2.      “BOLEY” means Defendant BOLEY CORPORATION, a California
   17   Corporation; any current or former directors, officers, agents or employees; and
   18   any other person acting on behalf of BOLEY or at their direction or under their
   19   control.
   20         3.     “BOLEY HK” means Defendant BOLEY INTERNATIONAL (HK)
   21   Ltd., a Hong Kong Company; any current or former directors, officers, agents or
   22   employees; and any other person acting on behalf of BOLEY HK or at their
   23   direction or under their control.
   24         4.      “INFRINGING SPRINKLER PRODUCTS” means and refers to the
   25   children’s water sprinkler toys that are distributed, marketed, sold, and offered for
   26   sale under the trade names “Water Sprinkler,” “Twisty Water Sprinkler,”
   27   “Hurricane Sprinkler,” and “Cyclone Spin Sprinkler” referenced in the operative
   28   complaint in this matter.
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    1          5.    “COMMUNICATION” in the singular and plural means and refers to
    2 any oral, telephonic, written, electronic, or other transmittal of information or other
    3 content, including via e-mail, text message, and social media.
    4                                     CATEGORIES
    5          1.    DOLLAR GENERAL’s business relationship with BOLEY HK;
    6          2.    DOLLAR GENERAL’s business relationship with BOLEY;
    7          3.    Any and all contacts of any kind between DOLLAR GENERAL,
    8 BOLEY HK, and the State of California;
    9          4.    Any and all contacts of any kind between DOLLAR GENERAL,
   10 BOLEY, and the State of California;
   11          5.    The sale of any BOLEY HK products in California for the last five
   12 years;
   13          6.    All communications with BOLEY HK regarding the INFRINGING
   14 SPRINKLER PRODUCTS; and
   15          7.    All communications with BOLEY regarding the INFRINGING
   16 SPRINKLER PRODUCTS.
   17                           REQUEST FOR PRODUCTION
   18          Deponent is requested to produce at the deposition all documents supporting,
   19 referring to, relating to, or concerning:
   20          1.    Any contracts between DOLLAR GENERAL and BOLEY HK;
   21          2.    Any contracts between DOLLAR GENERAL and BOLEY;
   22          3.    The performance of any contracts between DOLLAR GENERAL and
   23 BOLEY HK in California;
   24          4.    The performance of any contracts between DOLLAR GENERAL and
   25 BOLEY in California;
   26          5.    All communications between DOLLAR GENERAL and BOLEY HK
   27 in California for the last five years;
   28          6.    All communications between DOLLAR GENERAL and BOLEY in
                                                  2
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    1 California for the last five years;
    2          7.    Any lawsuits filed against DOLLAR GENERAL and BOLEY in the
    3 State of California;
    4          8.    Any lawsuits filed against DOLLAR GENERAL and BOLEY HK in
    5 the State of California;
    6          9.    The sale of any BOLEY HK products in California for the last five
    7 years;
    8          10.   All communications with BOLEY HK regarding the INFRINGING
    9 SPRINKLER PRODUCTS; and
   10          11.   All communications with BOLEY regarding the INFRINGING
   11 SPRINKLER PRODUCTS.
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    1   Stephen L. Raucher [State Bar #162795]
        sraucher@rrbattorneys.com
    2   REUBEN RAUCHER & BLUM
        12400 Wilshire Boulevard, Suite 800
    3   Los Angeles, California 90025
        Telephone: (310) 777-1990
    4   Facsimile: (310) 777-1989
    5   Attorneys for Plaintiff
        Swift Harvest USA, LLC
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    7
                           UNITED STATES DISTRICT COURT
    8
                         CENTRAL DISTRICT OF CALIFORNIA
    9
   10
        SWIFT HARVEST USA, LLC, a                Case No.: 5:19-CV-01700
   11   California Limited Liability Company,
                                                 PLAINTIFF SWIFT HARVEST
   12                     Plaintiff,             USA, LLC’S NOTICE OF RULE
                                                 30(b)(6) DEPOSITION TO
   13   vs.                                      DEFENDANT BOLEY
                                                 INTERNATIONAL (HK) LTD.
   14   BOLEY INTERNATIONAL (HK)
        Ltd., a Hong Kong Company; BOLEY         Date:
   15   CORPORATION, a California                Time:     4:00 p.m. PST
        Corporation; and DOES 1-10,              Location: Benny Kong & Tsai
   16                                                      Solicitor’s HK Office at
                          Defendants.                      19B, OTB Building
   17                                                      160 Gloucester Road
                                                           Hong Kong
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   19                                            Complaint filed: September 5, 2019
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    1         TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
    2         PLEASE TAKE NOTICE that, pursuant to Rules 30(b)(4) and 30(b)(6) of
    3   the Federal Rules of Civil Procedure (“FRCP”), Plaintiff, SWIFT HARVEST
    4   USA, LLC (“SWIFT HARVEST”), through its attorneys, will remotely, via
    5   telephone, take the deposition of the person most knowledgeable from Defendant
    6   BOLEY INTERNATIONAL (HK) LTD. (“Defendant”), on the categories of
    7   information listed below, on [DATE], 2019, at Benny Kong & Tsai Solicitor’s
    8   Hong Kong office (19B, OTB Building, 160 Gloucester Road, Hong Kong) or at
    9   such other time and place as may be agreed by the parties. The deposition will
   10   commence at 4:00 p.m. PST, and shall continue for seven (7) complete hours of
   11   transcript time per designee, continuing as late as necessary, or concluding on the
   12   following day, if necessary. The deposition will be taken upon oral examination
   13   before a court reporter or other person lawfully authorized to administer oaths and
   14   take deposition testimony for the purposes of discovery and may be videotaped or
   15   audiotaped for use as evidence in this action, including trial, or for such other
   16   purposes as are permitted.
   17         Pursuant to FRCP 30(b)(6), Defendant is required to produce at the
   18   deposition those of its officers, directors, managing agents, employees, or agents
   19   who are most qualified to testify on its behalf on each of the categories listed
   20   below. Within five (5) business days of the date of the deposition, Defendant is
   21   requested to identify, in writing, the name(s) and position(s) of the person(s) who
   22   will testify on its behalf concerning the below categories.
   23         PLEASE TAKE FURTHER NOTICE that pursuant to FRCP 30(b)(2) and
   24   34, the deponent must produce the documents, records, or other materials specified
   25   below at such deposition.
   26         The categories and relevant definitions are as follows:
   27                                     DEFINITIONS
   28         1.     “BOLEY HK” means Defendant BOLEY INTERNATIONAL (HK)
                                                     1
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    1   Ltd., a Hong Kong Company; any current or former directors, officers, agents or
    2   employees; and any other person acting on behalf of BOLEY HK or at their
    3   direction or under their control.
    4         2.      “BOLEY” means Defendant BOLEY CORPORATION, a California
    5   Corporation; any current or former directors, officers, agents or employees; and
    6   any other person acting on behalf of BOLEY or at their direction or under their
    7   control.
    8         3.      “DOLLAR         GENERAL”           means     DOLLAR         GENERAL
    9   CORPORATION, a Tennessee corporation any current or former directors,
   10   officers, agents or employees; and any other person acting on behalf of DOLLAR
   11   GENERAL or at their direction or under their control.
   12         4.      “INFRINGING SPRINKLER PRODUCTS” means and refers to the
   13   children’s water sprinkler toys that are distributed, marketed, sold, and offered for
   14   sale under the trade names “Water Sprinkler,” “Twisty Water Sprinkler,”
   15   “Hurricane Sprinkler,” and “Cyclone Spin Sprinkler” referenced in the operative
   16   complaint in this matter.
   17         5.      “COMMUNICATION” in the singular and plural means and refers to
   18   any oral, telephonic, written, electronic, or other transmittal of information or other
   19   content, including via e-mail, text message, and social media.
   20                                       CATEGORIES
   21         1.      Any communications between BOLEY HK and BOLEY for the last
   22   five years;
   23         2.      Any contracts between BOLEY HK and BOLEY;
   24         3.      BOLEY HK’s business relationship with BOLEY;
   25         4.      Any and all contacts of any kind between BOLEY, BOLEY HK, and
   26   the State of California;
   27         5.      Ronald Wong’s relationship with BOLEY;
   28         6.      Ronald Wong’s relationship with BOLEY HK;
                                                     2
Case 5:19-cv-01700-DMG-GJS Document 17 Filed 12/19/19 Page 34 of 63 Page ID #:226



    1            7.    Stella Wong’s relationship with BOLEY;
    2            8.    Stella Wong’s relationship with BOLEY HK;
    3            9.    Any business relationship between BOLEY HK and any California
    4   entities, or entities with their principal place of business in California, for the last
    5   five years;
    6            10.   The sale of any BOLEY HK products in California for the last five
    7   years;
    8            11.   All communications with BOLEY regarding the INFRINGING
    9   SPRINKLER PRODUCTS; and
   10            12.   All communications with DOLLAR GENERAL regarding the
   11   INFRINGING SPRINKLER PRODUCTS.
   12                             REQUEST FOR PRODUCTION
   13            Deponent is requested to produce at the deposition all documents supporting,
   14   referring to, relating to, or concerning:
   15            1.    Invoices, receipts, travel expenses, calendars, diaries, and any other
   16   documents reflecting or referring to travel to the State of California by BOLEY
   17   HK;
   18            2.    The negotiation of any contracts between BOLEY and BOLEY HK;
   19            3.    Any contracts between BOLEY and BOLEY HK;
   20            4.    The performance of any contracts between BOLEY and BOLEY HK;
   21            5.    All communications between BOLEY and BOLEY HK for the last
   22   five years;
   23            6.    Any lawsuits filed against BOLEY and/or BOLEY HK in the State of
   24   California;
   25            7.    Ronald Wong’s relationship with BOLEY;
   26            8.    Ronald Wong’s relationship with BOLEY HK;
   27            9.    Stella Wong’s relationship with BOLEY;
   28            10.   Stella Wong’s relationship with BOLEY HK;
                                                      3
Case 5:19-cv-01700-DMG-GJS Document 17 Filed 12/19/19 Page 35 of 63 Page ID #:227



    1            11.   Any business relationship between BOLEY HK and any California
    2   entities for the last five years;
    3            12.   The sale of any BOLEY HK products in California for the last five
    4   years;
    5            13.   All communications with BOLEY regarding the INFRINGING
    6   SPRINKLER PRODUCTS; and
    7            14.   All communications with DOLLAR GENERAL regarding the
    8   INFRINGING SPRINKLER PRODUCTS.
    9
   10   DATED: December 18, 2019              REUBEN RAUCHER & BLUM
   11
                                              By:______________________________
   12                                               Stephen L. Raucher
                                              Attorneys for Plaintiff Swift Harvest USA,
   13                                         LLC
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    Case 5:19-cv-01700-DMG-GJS Document 17 Filed 12/19/19 Page 37 of 63 Page ID #:229

Nathalie Quach
From:                        Anthony, Tyler [tyler.anthony@dlapiper.com]
Sent:                        Tuesday, November 19, 2019 5:57 PM
To:                          Stephen Raucher; Bentz, Tamany
Cc:                          Nicholas Alexakis
Subject:                     RE: Swift Harvest v. Boley/Dollar General


Stephen,

We will not stipulate to Plaintiff’s proposed discovery.

The proposed discovery is improper because you have no colorable basis for personal jurisdiction and, therefore, no basis
for discovery. Plaintiff’s allegations regarding personal jurisdiction are nothing more than conclusory statements.
Plaintiff’s Complaint alleges zero facts showing any contacts between Boley HK and the state of California. Indeed,
Plaintiff’s allegation that Boley HK had any involvement in supplying the allegedly “infringing products” is itself based on
“information and belief.” Compl., ¶ 23. We will reconsider our position if your client has any additional information to
proffer in support of its demanded discovery.

Relatedly, Plaintiff’s proposed discovery is not narrowly tailored to discover jurisdictional facts. For instance, the
proposed Dollar General subpoena would, by its terms, encompass testimony concerning the entirety of the “business
relationship” between Dollar General and Boley HK (without regard for its impact on the state of California); would
require the production of all contracts between the two (again, without regard for those contracts’ relationship to
California); and would encompass discovery concerning the relationship and all contracts between Dollar General and
Boley Corp., discovery that has nothing to do with Boley HK’s contacts with California. The deposition notice to Boley
Corp. is even broader, encompassing, inter alia, all communications between Boley Corp. and Boley HK for the last five
years; and the entirety of the business relationship between the two, including all contracts, as well as all contract
negotiations between the two.

The discovery is also premature under the Federal Rules of Civil Procedure (“FRCP”). As you know, discovery in federal
court is not available until after the parties have held a Rule 26(f) conference. FRCP 26(d)(1) (“A party may not seek
discovery from any source before the parties have conferred as required by Rule 26(f), except in a proceeding exempted
from initial disclosure under Rule 26(a)(1)(B), or when authorized by these rules, by stipulation, or by court order.”) In the
Ninth Circuit, a plaintiff seeking expedited discovery must show “good cause”—i.e., that the “need for expedited
discovery, in consideration of the administration of justice, outweighs the prejudice to the responding party.” Semitool,
Inc. v. Tokyo Electron America, Inc., 208 F.R.D. 273, 276 (N.D. Cal. 2002). Plaintiff has not provided any basis for a finding
of “good cause.”

Finally, we will need to meet and confer with you regarding Defendants’ anticipated motion to dismiss. Please let us know
if there is a good day/time during the week after Thanksgiving for us to meet and confer.

Thanks,

Tyler

From: Stephen Raucher <sraucher@rrbattorneys.com>
Sent: Friday, November 15, 2019 9:05 AM
To: Bentz, Tamany <Tamany.Bentz@us.dlapiper.com>; Anthony, Tyler <Tyler.Anthony@us.dlapiper.com>
Cc: Nicholas Alexakis <nalexakis@rrbattorneys.com>
Subject: Swift Harvest v. Boley/Dollar General

[EXTERNAL]
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Case 5:19-cv-01700-DMG-GJS Document 17 Filed 12/19/19 Page 38 of 63 Page ID #:230




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    Case 5:19-cv-01700-DMG-GJS Document 17 Filed 12/19/19 Page 39 of 63 Page ID #:231

Nathalie Quach
From:                         Stephen Raucher
Sent:                         Wednesday, November 20, 2019 4:39 PM
To:                           'Anthony, Tyler'; Bentz, Tamany
Cc:                           Nicholas Alexakis
Subject:                      RE: Swift Harvest v. Boley/Dollar General


Tyler –

We obviously disagree that there is no colorable basis for personal jurisdiction. The relationship between Boley HK and
Boley California alone provides a colorable basis. However, it is true that we need an opportunity to develop this
evidence, which is solely in the defendants’ possession. Hence, our request for jurisdictional discovery, which, as you
know, is routinely granted.

We are open to meeting and conferring to narrow the scope of the discovery. Please let me know your proposal in that
regard.

We of course understand that the discovery is premature, which is why we are seeking your stipulation. Otherwise, we
will have to seek permission to conduct the discovery from the Court once you file your personal jurisdiction motion.

I propose December 4, 2019 at 3:00 p.m. to discuss your contemplated Motion to Dismiss. Please let us know in
advance if there are any issues beyond a personal jurisdiction challenge by Boley HK.




Stephen L. Raucher
12400 Wilshire Boulevard, Suite 800 | Los Angeles, California 90025
Telephone: (310) 777-1990 | Facsimile: (310) 777-1989
www.rrbattorneys.com | sraucher@rrbattorneys.com

This Message Is Confidential and May Be Protected By the Attorney-Client Privilege and Other Applicable Law




From: Anthony, Tyler [mailto:tyler.anthony@dlapiper.com]
Sent: Tuesday, November 19, 2019 5:57 PM
To: Stephen Raucher; Bentz, Tamany
Cc: Nicholas Alexakis
Subject: RE: Swift Harvest v. Boley/Dollar General

Stephen,

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The proposed discovery is improper because you have no colorable basis for personal jurisdiction and, therefore, no basis
for discovery. Plaintiff’s allegations regarding personal jurisdiction are nothing more than conclusory statements.
Plaintiff’s Complaint alleges zero facts showing any contacts between Boley HK and the state of California. Indeed,
Plaintiff’s allegation that Boley HK had any involvement in supplying the allegedly “infringing products” is itself based on
“information and belief.” Compl., ¶ 23. We will reconsider our position if your client has any additional information to
proffer in support of its demanded discovery.
                                                                 1
   Case 5:19-cv-01700-DMG-GJS Document 17 Filed 12/19/19 Page 40 of 63 Page ID #:232


Relatedly, Plaintiff’s proposed discovery is not narrowly tailored to discover jurisdictional facts. For instance, the
proposed Dollar General subpoena would, by its terms, encompass testimony concerning the entirety of the “business
relationship” between Dollar General and Boley HK (without regard for its impact on the state of California); would
require the production of all contracts between the two (again, without regard for those contracts’ relationship to
California); and would encompass discovery concerning the relationship and all contracts between Dollar General and
Boley Corp., discovery that has nothing to do with Boley HK’s contacts with California. The deposition notice to Boley
Corp. is even broader, encompassing, inter alia, all communications between Boley Corp. and Boley HK for the last five
years; and the entirety of the business relationship between the two, including all contracts, as well as all contract
negotiations between the two.

The discovery is also premature under the Federal Rules of Civil Procedure (“FRCP”). As you know, discovery in federal
court is not available until after the parties have held a Rule 26(f) conference. FRCP 26(d)(1) (“A party may not seek
discovery from any source before the parties have conferred as required by Rule 26(f), except in a proceeding exempted
from initial disclosure under Rule 26(a)(1)(B), or when authorized by these rules, by stipulation, or by court order.”) In the
Ninth Circuit, a plaintiff seeking expedited discovery must show “good cause”—i.e., that the “need for expedited
discovery, in consideration of the administration of justice, outweighs the prejudice to the responding party.” Semitool,
Inc. v. Tokyo Electron America, Inc., 208 F.R.D. 273, 276 (N.D. Cal. 2002). Plaintiff has not provided any basis for a finding
of “good cause.”

Finally, we will need to meet and confer with you regarding Defendants’ anticipated motion to dismiss. Please let us know
if there is a good day/time during the week after Thanksgiving for us to meet and confer.

Thanks,

Tyler

From: Stephen Raucher <sraucher@rrbattorneys.com>
Sent: Friday, November 15, 2019 9:05 AM
To: Bentz, Tamany <Tamany.Bentz@us.dlapiper.com>; Anthony, Tyler <Tyler.Anthony@us.dlapiper.com>
Cc: Nicholas Alexakis <nalexakis@rrbattorneys.com>
Subject: Swift Harvest v. Boley/Dollar General

[EXTERNAL]

Hi Tamany and Tyler –

I am working on a new settlement offer, but in the meantime, please advise as to whether Boley will stipulate to early
discovery regarding its contemplated personal jurisdiction motion.

A draft 30(b)(6) deposition notice to Boley California and a draft subpoena to Dollar General on jurisdictional issues are
attached. Since the 30(b)(6) notice will need to be served with at least 30 days’ notice given the document demands,
please advise as soon as possible whether you will agree to early jurisdictional discovery. Please also provide potential
dates for these depositions.

We are also contemplating a 30(b)(6) deposition notice with document demands to Boley HK.

Thank you in advance for your anticipated cooperation.




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    Case 5:19-cv-01700-DMG-GJS Document 17 Filed 12/19/19 Page 41 of 63 Page ID #:233




Stephen L. Raucher
12400 Wilshire Boulevard, Suite 800 | Los Angeles, California 90025
Telephone: (310) 777-1990 | Facsimile: (310) 777-1989
www.rrbattorneys.com | sraucher@rrbattorneys.com

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communication in error, please reply to the sender and destroy all copies of the message. To contact us directly, send to
postmaster@dlapiper.com. Thank you.




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Case 5:19-cv-01700-DMG-GJS Document 17 Filed 12/19/19 Page 42 of 63 Page ID #:234




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1 of 2                                                                                      12/5/2019, 5:19 PM
We're Here to Help! – Boley Store                                              https://www.boley.com/pages/help
            Case 5:19-cv-01700-DMG-GJS Document 17 Filed 12/19/19 Page 44 of 63 Page ID #:236




2 of 2                                                                                      12/5/2019, 5:19 PM
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                                                              Page461of
                                                                      of63 PageID
                                                                         1 Page ID#:96
                                                                                  #:238
 NAME, ADDRESS, AND TELEPHONE NUMBER OF ATTORNEY(S)
 OR OF PARTY APPEARING IN PRO PER
 Tamany Vinson Bentz, SBN 258600
 Kirby Hsu, SBN 312535
 DLA PIPER LLP (US)
 2000 Avenue of the Stars, Suite 400 North Tower
 Los Angeles, California 90067
 Tel: 310.595.3000
 Fax: 310.595.3300
 ATTORNEY(S) FOR: DOLLAR GENERAL CORPORATION

                                          UNITED STATES DISTRICT COURT
                                         CENTRAL DISTRICT OF CALIFORNIA
                                                                         CASE NUMBER:
SWIFT HARVEST USA, LLC, a California Limited Liability
Company,                                                                 2:17-cv-08644-DMG-GJS
                                                         Plaintiff(s),
                                v.

DOLLAR GENERAL CORPORATION, a Tennessee corporation,                                    CERTIFICATION AND NOTICE
DOES 1-10,                                                                                OF INTERESTED PARTIES
                                                        Defendant(s)                           (Local Rule 7.1-1)


TO:     THE COURT AND ALL PARTIES OF RECORD:

The undersigned, counsel of record for Dollar General Corporation
or party appearing in pro per, certifies that the following listed party (or parties) may have a pecuniary interest in
the outcome of this case. These representations are made to enable the Court to evaluate possible disqualification
or recusal.
           (List the names of all such parties and identify their connection and interest. Use additional sheet if necessary.)

PARTY                                                           CONNECTION / INTEREST
Dollar General Corporation                                      Defendant
Boley Corporation                                               Manufacturer of Water Sprinkler and Hurricane Sprinkler
Swift Harvest USA, LLC                                          Plaintiff
Manley Toys Limited                                             Previous owner of intellectual property rights associated with
                                                                Wigglin' Water Sprinkler and Cyclone Spin Sprinkler

Focus Brand Limited                                             Previous owner of intellectual property rights associated with
                                                                Wigglin' Water Sprinkler and Cyclone Spin Sprinkler
Banzai International Limited                                    Previous owner of intellectual property rights associated with
                                                                Wigglin' Water Sprinkler and Cyclone Spin Sprinkler

        April 16, 2018                                /s/ Tamany Vinson Bentz
        Date                                          Signature


                                                      Attorney of record for (or name of party appearing in pro per):

                                                      Defendant Dollar General Corporation



CV-30 (05/13)                                      NOTICE OF INTERESTED PARTIES
WEST\281185375.1
Case 5:19-cv-01700-DMG-GJS Document 17 Filed 12/19/19 Page 47 of 63 Page ID #:239




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May 24, 2017


VIA EMAIL TO: denny@banzaitoy.com
Denny Cheng
Banzai International Ltd


        Re:      Banzai v. Boley


Dear Mr. Cheng:

         We are responding to your letter of May 22, 2017, and as a follow up to our previous letter of May 19, 2017 and
our previous email of May 17, 2017. We take matters of intellectual property very seriously, and are in the process of
trying to ascertain what you allege we infringe. While you refer to the matter as simple and straightforward, it is our
experience that intellectual property matters are always complex and nuanced. That is the case here. Please provide
proof of legal ownership of the products as well as a copy of the copyright registrations, proof of ownership of those
copyright registrations, and the specimen you filed with the copyright, then we can conduct our due diligence on your
claim. Without a copy of the actual registration, proof of ownership, and what was registered, it is simply impossible for
our team to make a determination of your claim to which we may reply.

        Furthermore, even if you are the owner of the alleged copyright, it is well known that ornamental features are
not protectable by copyright, but rather, via a design patent. Moreover, our review of U.S. copyright records fails to
show that you are the owner of any copyrights. As regards to the documents you provided, our review finds that the
requisite substantial similarity is missing. In addition, the differences in shape, color, connectors, packaging, overall
function, etc., are significant between the two products.

        As you have previously been advised, your letter to Dollar General has been referred to us for response. Please
direct any and all future correspondence in this matter to the undersigned. If you want to resolve this issue, please send
us proof of legal ownership rights of said product and proof of copyright registrations and specimen instead of
threatening letters.

        We look forward to hearing from you soon.

Yours truly,

Reuben Wong
Vice President
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               CR                                            Annual Return
           & n & § m
           Companies Registry                                                                                  Form             NAR1
                                                                                                                         Company Number


g Note
                                                                                                                        398899

           1    &               Company Name


                                                            Boley International (HK) Limited


      e    2                                        Business Name (If any)


                                                                                  (Nil)


           3    & U £ JM Type of Company
                                             ^ J£     Please tick the relevant box

                0 m.x&n                                    &JK&WI
                      Private company                      Public company                        Company limited by guarantee

      €»   4
                                                                                                      12                01                2019
                Date to which this Return is Made Up
                                                                                                     B DD              B MM              fp YYYY



                xm&x&w •                                                                            mMmmza •

                For a private company, the information in this return should be made up to the anniversary of the date of its incorporation.
                For a public company, the return should be made up to the date that is 6 months after the end of its accounting reference period.
                For a company limited by guarantee, the return should be made up to the date that is 9 months after the end of its accounting
                reference period.)

      Q    5
                Period Covered by Financial Statements Delivered with this Form
                (?AA A                        A private company need not complete this section)

                                                                                     M
                                                                                     To
                       B DD                 H mm                *£YYYY                              B DD              H mm                YYYY



      ©    6                                Address of Registered Office


                 Units IB & 2B, 10/F., Tower 2, South Seas Centre, 75 Mody Road, Tsim Sha Tsui East, Kowloon,
                 Hong Kong




      0    $1 35 A    3jsf Presenter's Reference                                            if      W # fill For Official Use
                Name:       Panfair Services Limited

           % tit Address:     10/F., Chun Wo Commercial Centre,
                             23-29 Wing Wo Street,



           mig Tel:
                             Central,
                            Hong Kong
                            2541 0784                 ftX Fax: 2815 3489
                                                                                                        23301512767
                                                                                                        23301512767
                                                                                                        NAR1L                  0398899
                Email:
                                                                                                        19/02/2019
           li Reference:        23420043, Due Date:22/02/2019




                 1/2014 (2014 ^ 3 H ) Specification No. 1/2014 (March 2014)
                                                                                                                                          0143

                                                                      Panfair Services Limited
Case 5:19-cv-01700-DMG-GJS Document 17 Filed 12/19/19 Page 51 of 63 Page ID #:243
                                                                                                                     Company Number

      Form         NAR1                                                                                             398899

 ®    7     11 Hfl ife Jit Email Address
                                                                             (Nil)

      8                        Mortgages and Charges
                                                                  i^mmy                                                 * j&mi& 1912^1
            £1
            Total amount of the indebtedness as at the date to which this return is made up in respect of all
            mortgages and charges which are required to be registered with the Registrar of Companies pursuant to
            the Companies Ordinance or would have been required to be so registered if created after 1 January
            1912



                                                                             (Nil)


      9                                 AI& Number of Member(s) of a Company Not Having a Share Capital
                                    ^lit *0    Company having a share capital need not complete this section)


                                                                                                                         N/A
            Number of Member(s) as at the Date to which this Return is Made Up

 ®    10            Share Capital
            (&/&&/&£•                    -31   Company not having a share capital need not complete this section)

                              ft M $ ^ ft Jft 05 tit M 0 & As at the Date to which this Return is Made Up

                                                                                     B3£f?05fft Issued Shares



               Class of Shares          Currency                   mm                         mm.m
               (e.g. Ordinary/                                Total Number                  Total Amount            Total Amount Paid up or
               Preference etc.)                                                                                      Regarded as Paid up



                   Ordinary               HKD                       100                        100.00                       100.00




                            mm                                                                                              100.00
                                          HKD                       100                        100.00
                            Total




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      WMM St 1/2014 (2014   3 n) Specification No. 1/2014 (March 2014)
                                                                                                                                  Q144
                                                                 Panfair Services Limited
Case 5:19-cv-01700-DMG-GJS Document 17 Filed 12/19/19 Page 52 of 63 Page ID #:244
                                                                                                                   Company Number

      Form          NAR1                                                                                         398899

      11      &WJI&         Company Secretary

      A.                    ( g #$A) Company Secretary (Natural Person)
                           WJM'SMSMA • ffMMMA tjf$i Use Continuation Sheet A if more than 1 company secretary is a natural person)


      Name in Chinese


      Name in English         Surname



                          Other Names



      Previous Names            Chinese

                                  IS*
                                 English

      m«
      Alias                     Chinese



                                 English



      Hong Kong
      Correspondence
      Address




                                 Region


 <D   ftijifett:
      Email Address

 ©    JP^IS ^ Identification/
      (a)
            Hong Kong Identity Card Number

      (b) mm
            Passi                Issuing Country



                                           Number

      B.                  ( ;£ A §!£§ ) Company Secretary (Body Corporate)
                                             • iMMBNA iff      Use Continuation Sheet A if more than 1 company secretary is a body corporate)

 ©                                                                                 m
      Name in Chinese

 ©    xsczn                                                                  Panfair Services Limited
      Name in English

 ®              t                           10/F., Chun Wo Commercial Centre,
      Hong Kong
      Address
                                            23-29 Wing Wo Street,


                                            Central,

                                  JftSg
                                 Region Hong Kong

      Email Address
                                                                                          (Nil)

                    Company Number                                                                               70704

                                                                                                                                     Page 3


              1/2014(2014^3 H) Specification No. 1/2014 (March 2014)
                                                                                                                                 0145
                                                               Panfair Services Limited
Case 5:19-cv-01700-DMG-GJS Document 17 Filed 12/19/19 Page 53 of 63 Page ID #:245
                                                                                                              &HISK Company Number
      Form          NAR1                                                                                                    398899

      12      MM Directors

      A-      SV       (§^A) Director (Natural Person)
                                                          B iM$S    Use Continuation Sheet B if more than 1 director is a natural person)


                                   ^ M      Please tick the relevant box(es)

 ©                                                                                                  ft § Alternate to
                                            0 «
      Capacity                                     Director               Alternate Director

                                                                                                                            (Nil)




      Name in Chinese


                                                                                              WONG
      Name in English           Surname


                                                                                      Man Gee, Ronald
                            Other Names



      Previous Names             Chinese
                                                                                                  (Nil)

                                    353:
                                  English
                                                                                                  (Nil)


      Alias                      Chinese
                                                                                                  (Nil)

                                    353:
                                  English
                                                                                                  (Nil)


                                             Units IB & 2B, 10/F., Tower 2,
      Residential
      Address
                                             South Seas Centre, 75 Mody Road,


                                             Tsim Sha Tsui East, Kowloon,

                            mm/mm
                        Country/Region       Hong Kong



      Email Address
                                                                                                  (Nil)

 ©    ##            Identification
      (a)
                                                                          G                   0           1   7         7           6     5      (1)
            Hong Kong Identity Card Number

      (b) MR
                                   Issuing Country
                                                                                                     (Nil)
            Passport


                                            Number
                                                                                                     (Nil)




                                                                                                                                        IQH Page 4


                                                                                                                                              0146
      *1911158 1/2014 (2014*^3 E) Specification No. 1/2014 (March 2014)
                                                                   Ponfair Services Limited
Case 5:19-cv-01700-DMG-GJS Document 17 Filed 12/19/19 Page 54 of 63 Page ID #:246
                                                                                                                              Company Number

      Form              NAR1                                                                                                398899

      12                 Directors                        cont'd)

      B.       gjl        (j£Allii) Director (Body Corporate)
                                                                    C tM$8    Use Continuation Sheet C if more than 2 directors are body corporate)

                              1± ^         Please tick the relevant box(es)

 0    1        M-ft                                     mm                                            ft# Alternate to

               Capacity                                 Director               Alternate Director




      Name in Chinese




      Name in English


 @
      Address




                           Country/Region

      nmt&ist
      Email Address

                       Company Number
                                       mm)
      (Only applicable to body corporate registered in Hong Kong)

                                      ^ M      Please tick the relevant box(es)
                                                                                                      ft# Alternate to
 ©    2
                                                        «
               Capacity                                 Director               Alternate Director




      Name in Chinese




      Name in English


 ®
      Address




                               1^/tH
                           Country/ Region

 ©    *8%
      Email Address

                       Company Number
      (RM%n&W%i£mfi>£;A SM)
          fnly applicable to body corporate registered in Hong Kong)

                                                                                                                                        HEM Page 5

                 1/2014 {2014 ^ 3 B ) Specification No. 1/2014 (March 2014)
                                                                                                                                             0147

                                                                        Pan/air Services Limited
Case 5:19-cv-01700-DMG-GJS Document 17 Filed 12/19/19 Page 55 of 63 Page ID #:247
                                                                                                     & If SIM Company Number
      Form           NAR1                                                                                   398899

      12      2<l Directors              (g?_tw       cont'd)

      C-      ft£E!:* Reserve Director

              (Only applicable to a private company with only one member who is also the sole director of the company)



      Name in Chinese



      Name in English            Surname



                            Other Names



      Previous Names              Chinese

                                     $kX
                                   English
                                                                                                z:

      Alias                       Chinese



                                   English


 ®    ft it
      Residential
      Address




                         Country/Region

 ©    mMit
      Email Address

 ©    ##§§$! Identification/
      (a)
            Hong Kong Identity Card Number

      (b) mm
            Passp                   Issuing Country



                                             Number




                                                                                                                         Page 6



                                                                                                                      0148
               1/2014 (2014 if 3 ^ ) Specification No. 1/2014 (March 2014)

                                                                     Panfair Services Limited
Case 5:19-cv-01700-DMG-GJS Document 17 Filed 12/19/19 Page 56 of 63 Page ID #:248
                                                                                                            &n]8i§£ Company Number
      Form        NAR1                                                                                                 398899

 @    13                                          Particulars of Member(s) of a Company Having a Share Capital
                            ffldXMfffflxSthiK Company having a share capital must complete this section )
                                      s M    Please tick the relevant box


           0
                 Particulars of members of a non-listed company are listed in Schedule 1



                 Particulars of members of a listed company are listed in Schedule 2

 ©    14       WJ ££         Company Records
            ($0£{fL^£ ' iffMiffM D iM$z            Use Continuation Sheet D if the space provided is insufficient)



           Address where the following company records are kept (if not kept at the registered office stated in Section 6)

                            & % 65        Company Records                                                   Jfefcfc Address
             Register of Members, Significant Controllers
             Register, Register of Directors, Register of
             Company Secretaries, Register of Charges, Copies                            10/F., Chun Wo Commercial Centre,
             of Resolutions of Members, Minutes of Proceedings                          23-29 Wing Wo Street, Central, Hong Kong
             of General Meetings and Written Records of
             Decisions of Sole Member

      15       M It Statement
            (#OM&A          W • iff&£fef3tiD± '                                  For a private company, please tick the box to make the Statement)

           0
                ma mm)>

                ii(2)*»»f*&qrtAA*i**'ei»fcrt»A -
                The company has not, since the date of the last annual return (or since the date of incorporation in the case of
                the first annual return), issued any invitation to the public to subscribe for any shares or debentures of the
                company and that if the number of members of the company exceeds 50 as at the date of this return, the excess
                consists wholly of persons who, under section 1 1 (2) of the Companies Ordinance, are excluded in the
                calculation of the number of members of the company.

 ©                                                                       til 7K Advisory Note
                                                                       <2*ft£E«§l> '                                       •
            All directors of the company are advised to read 'A Guide on Directors' Duties' published by the Companies Registry and
            acquaint themselves with the general duties of directors outlined in the Guide.


                                               This Return includes the following Continuation Sheet(s)

             IS K Continuation Sheet(s)                          A                          B                    C                      D


             JCSft Number of pages                               0                          2                    0                      0




 0          Signed      :

            Name        :                   WONGMan Gee, Ronald                                   El 83 Date :        19 February 2019
                             mm                                                                                      B DD   /   H MM   / 4# YYYY

      *iffM£:fMfiii!a Delete whichever does not apply


                                                                                                                                   Itl Page 7




             1/2014 (2014 fp 3 fl) Specification No. 1/2014 (March 2014)
                                                                                                                                        0149
                                                                     Panfair Services Limited
Case 5:19-cv-01700-DMG-GJS Document 17 Filed 12/19/19 Page 57 of 63 Page ID #:249
                                                                                                                                      Schedule 1
      Form           NAR1
                                                                                                   FOR NON-LISTED COMPANY)

      Date to which this Return is Made Up                                                                               £i M Company Number

                12                 01                 2019                                                                    398899
            BDD                  H MM               ^ YYYY



 ©                                                (#13*)
      Particulars of Memberfs) of a Non-listed Company (Section 13)

      (Non-listed company having a share capital must complete this page.             If the space provided is insufficient, or if there is more than one
      class of shares, please use additional Schedule 1.)

     ag&fr                                                  Particulars of Member(s) as at the Date to which this Return is Made Up


      &®mm Class of Shares                                                                         Ordinary



      JfcfcSRBlIH&'f&fSEft^rlSiS: Total Number of Issued Shares in this Class                                                         100



                                                                                              85 {£ Shares


                                                   Jfefct                                                    mm*                             mm
                Name                            Address                          Current                 Transferred *                      Remarks
                                                                                 Holding
                                                                                                     m. S              nm
                                                                                                    Number             Date

       nmz                        Units IB & 2B, 10/F., Tower                       99
      WONG Man Gee,               2, South Seas Centre, 75 Mody
      Ronald                      Road, Tsim Sha Tsui East,
                                  Kowloon, Hong Kong



                                  Units IB & 2B, 10/F., Tower                        1
       CHOI Suk Chun,             2, South Seas Centre, 75 Mody
       Stella                     Road, Tsim Sha Tsui East,
                                  Kowloon, Hong Kong




        mm '                                                                                           riSj -mmm •
     * If there have been any transfers of the company's shares since the date of the last annual return (or since incorporation if
       this is the first annua! return), please also provide details of the transfers; the name of the transferee should be stated in
        the 'Remarks' column.

                                                                                                                                             M Page 1 / 1




                1/20 1 4 (201 4#;3^) Specification No. 1 /201 4 (March 201 4)
                                                                                                                                                0150

                                                                        Panfair Services Limited
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    Case 5:19-cv-01700-DMG-GJS Document 17 Filed 12/19/19 Page 58 of 63 Page ID #:250
                                                                                                        II B          Continuation Sheet B
          Form       NAR1
                                 hxb
          Date to which this Return is Made Up                                                                                    Company Number

                  12                  01                  2019                                                                 398899
                  B DD              H MM               ^ YYYY



                                 ^ A)              12A Jl)         Details of Director (Natural Person) (Section 12A)
                                       ^ M       Please tick the relevant box(es)


     ©                                           [7]    mm                     mmrnrn                   ft# Alternate to
          Capacity                                      Director               Alternate Director

                                                                                                                               (Nil)




          Name in Chinese

          mx&z
                                                                                                      CHOI
          Name in English           Surname


                                                                                           Suk Chun, Stella
                                Other Names


                                           <PX
          Previous Names              Chinese
                                                                                                      (Nil)

                                        ZkX
                                       English
                                                                                                      (Nil)

                                           *X
          Alias                       Chinese
                                                                                                      (Nil)

                                        mx
                                       English
                                                                                                      (Nil)


                                                   Units IB & 2B, 10/F., Tower 2,
          Residential
          Address
                                                   South Seas Centre, 75 Mody Road,


                                                   Tsim Sha Tsui East, Kowloon,


                            Country/Region         Hong Kong



          Email Address
                                                                                                      (Nil)

     ©                   Identification
          (a)
                                                                               E                  9           3   6        5           5   6     (0)
                Hong Kong Identity Card Number



          (b) ii
                                       Issuing Country
                                                                                                         (Nil)
                Passport

                                                   mm
                                                 Number
                                                                                                         (Nil)




                   1/2014 {2014 ^ 3 M) Specification No. 1/2014 (March 2014)
                                                                                                                                               0151

                                                                       Panfair Services Limited
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    Case 5:19-cv-01700-DMG-GJS Document 17 Filed 12/19/19 Page 59 of 63 Page ID #:251
                                                                                                       II B          Continuation Sheet B
          Form      NAR1
          Date to which this Return is Made Up                                                                   &pl§§{|£ Company Number

                  12                 01                  2019                                                                 398899
                  B DD             H MM               ^ YYYY



                                 ££ A) (tl 12A Jj)                Details of Director (Natural Person) (Section 12A1
                                      s M       Please tick the relevant box(es)


     ©                                          \7]    mm                                              ft# Alternate to

          Capacity                                     Director              Alternate Director

                                                                                                                              (Nil)



                                                                                                 nmiz
          Name in Chinese


                                                                                                 WONG
          Name in English           Surname


                                                                                         Reuben Lok Yan
                               Other Names



          Previous Names             Chinese
                                                                                                     (Nil)

                                        3*X
                                      English
                                                                                                     (Nil)

                                          ^x
                                     Chinese
                                                                                                     (Nil)
          Alias

                                        3SX
                                      English
                                                                                                     (Nil)

     ©    ft*h
                                                  Flat B, 28/F., Blk T3, One Silversea,
          Residential
          Address
                                                  1 8 Hoi Fai Road,


                                                  Tai Kok Tsui, Kowloon,


                            Country/Region        Hong Kong



          Email Address
                                                                                                     (Nil)

     ©    # # l§ 99 Identification
          (a)
                                                                             R                   6           4   5        9           5   0      (0)
                Hong Kong Identity Card Number


          (b) mm
                                      Issuing Country
                                                                                                        (Nil)
                Passport

                                                  mm
                                                Number
                                                                                                        (Nil)




                   1/2014(2014^3 H ) Specification No. 1/2014 {March 2014)
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                                                                      Panfair Services Limited
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                                 State of California                                              S
                                    Secretary of State
                               Statement of Information                                                                 G751343
              (Domestic Stock and Agricultural Cooperative Corporations)
                            FEES (Filing and Disclosure): $25.00.
                         If this is an amendment, see instructions.
                                                                                                                        FILED
       IMPORTANT – READ INSTRUCTIONS BEFORE COMPLETING THIS FORM                                           In the office of the Secretary of State
1. CORPORATE NAME                                                                                                 of the State of California
BOLEY CORPORATION

                                                                                                                       JUN-26 2019


2. CALIFORNIA CORPORATE NUMBER
                                               C1080749                                                            This Space for Filing Use Only

No Change Statement (Not applicable if agent address of record is a P.O. Box address. See instructions.)
3.    If there have been any changes to the information contained in the last Statement of Information filed with the California Secretary
      of State, or no statement of information has been previously filed, this form must be completed in its entirety.
            If there has been no change in any of the information contained in the last Statement of Information filed with the California Secretary
            of State, check the box and proceed to Item 17.

Complete Addresses for the Following (Do not abbreviate the name of the city. Items 4 and 5 cannot be P.O. Boxes.)
4.    STREET ADDRESS OF PRINCIPAL EXECUTIVE OFFICE                                            CITY                         STATE        ZIP CODE
14042 CENTRAL AVE, CHINO, CA 91710
5.    STREET ADDRESS OF PRINCIPAL BUSINESS OFFICE IN CALIFORNIA, IF ANY                       CITY                         STATE        ZIP CODE


6.    MAILING ADDRESS OF CORPORATION, IF DIFFERENT THAN ITEM 4                                CITY                         STATE        ZIP CODE


7.    EMAIL ADDRESS FOR RECEIVING STATUTORY NOTIFICATIONS


Names and Complete Addresses of the Following Officers (The corporation must list these three officers. A comparable title for the specific
officer may be added; however, the preprinted titles on this form must not be altered.)
7.    CHIEF EXECUTIVE OFFICER/                ADDRESS                                         CITY                         STATE        ZIP CODE
     RONALD WONG          14042 CENTRAL AVE, CHINO, CA 91710
8.    SECRETARY                               ADDRESS                                         CITY                         STATE        ZIP CODE
     STELLA WONG         14042 CENTRAL AVE, CHINO, CA 91710
9.    CHIEF FINANCIAL OFFICER/                ADDRESS                                         CITY                         STATE        ZIP CODE
     RONALD WONG          14042 CENTRAL AVE, CHINO, CA 91710
Names and Complete Addresses of All Directors, Including Directors Who are Also Officers (The corporation must have at least one
director. Attach additional pages, if necessary.)
10. NAME                                      ADDRESS                                         CITY                         STATE        ZIP CODE
 RONALD WONG              14042 CENTRAL AVE, CHINO, CA 91710
11. NAME                                      ADDRESS                                         CITY                         STATE        ZIP CODE


12. NAME                                      ADDRESS                                         CITY                         STATE        ZIP CODE


13. NUMBER OF VACANCIES ON THE BOARD OF DIRECTORS, IF ANY:
Agent for Service of Process If the agent is an individual, the agent must reside in California and Item 15 must be completed with a California street
address, a P.O. Box address is not acceptable. If the agent is another corporation, the agent must have on file with the California Secretary of State a
certificate pursuant to California Corporations Code section 1505 and Item 15 must be left blank.
14. NAME OF AGENT FOR SERVICE OF PROCESS
 RONALD WONG
15. STREET ADDRESS OF AGENT FOR SERVICE OF PROCESS IN CALIFORNIA, IF AN INDIVIDUAL CITY                                    STATE        ZIP CODE
 14042 CENTRAL AVE, CHNO, CA 91710
Type of Business
16. DESCRIBE THE TYPE OF BUSINESS OF THE CORPORATION
 TOY IMPORTER
17. BY SUBMITTING THIS STATEMENT OF INFORMATION TO THE CALIFORNIA SECRETARY OF STATE, THE CORPORATION CERTIFIES THE INFORMATION
    CONTAINED HEREIN, INCLUDING ANY ATTACHMENTS, IS TRUE AND CORRECT.
06/26/2019             CELIA RAMIREZ                                             ACCT MANAGER
     DATE                TYPE/PRINT NAME OF PERSON COMPLETING FORM                        TITLE                            SIGNATURE
SI-200 (REV 01/2013)                                                   Page 1 of 1                                  APPROVED BY SECRETARY OF STATE
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Nima Abtahi

From:                                Puneet Bhullar
Sent:                                Thursday, December 19, 2019 9:10 AM
To:                                  tyler.anthony@dlapiper.com; tamany.bentz@dlapiper.com
Cc:                                  Stephen Raucher
Subject:                             Ex Parte Notice - Swift Harvest USA, LLC v. Boley International HK Ltd et al


Dear Mr. Anthony and Ms. Bentz:

Please take notice that on December 19, 2019, Plaintiff Swift Harvest USA, LLC will apply Ex Parte for Leave to Conduct
Jurisdictional Discovery and Continue the Hearing on the Motion to Dismiss, in accordance with Rules 26, 34, and 45 of
the Federal Rules of Civil Procedure and Local Rules 7‐19. Any opposition should be served and filed within 24 hours of
service of the papers. We understand from our prior discussions that you will oppose the application.

Very truly yours,
Puneet Bhullar




Puneet Bhullar
12400 Wilshire Boulevard, Suite 800 | Los Angeles, California 90025
Telephone: (310) 777-1990 | Facsimile: (310) 777-1989
www.rrbattorneys.com | pbhullar@rrbattorneys.com

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